Case 1:23-cv-00528-TMH Document 34-1 Filed 09/05/23. Page 1 of 2 PagelD #: 1057
Case 1:23-cv-00528-CFC Document 33-1 Filed 08/30/23 Page 1 of 39 PagelD #: 1016

AG 8B (Rev. 12/13) Subpoena to Produce Documents, information, or Objects or te Permit Inspection of Premises in a Civi] Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

WOLFRAM ARNOLD, ERIK FROESE, TRACY HAW

Plaintiff
v

X CORP. fik/a TWITTER, INC., X HOLDINGS
CORP. fik’a X HOLDINGS I, INC. and ELON MUSK

Civil Action No. ©-A. No. 1: 23-cv-00528 CFC

Nee ee Ne ee et ee”

Defendant

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Wilson Sonsini Goodrich & Rosati

(Name of person to whom this subpoena is directed,
YP IP

af Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Schedule A

| Place: Kamerman, Uncyk, Soniker & Klein, P.C., Date and Time:
| Noo Broacway, (6th Floor 09/14/2023 9:00 am

O Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c}, relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 08/31/2023

CLERK OF COURT
OR
/s/ Akiva M. Cohen

Signature of Clerk or Deputy Clerk Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party}
. who issues or requests this subpoena, are:

Akiva M. Cohen, Kamerman, Uncyk, Soniker & Klein, P.C., 1700 Broadway, 16th Floor, New York, NY 10019,
acohen@kusklaw com 21? 406 4920

Notice to the persen who issues or requests this subpeena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
itis directed. Fed. R. Civ. P. 45(ay(4).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1: 23-cv-00528 CFC

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any) Wilson Sonsini Goodrich & Rosati

on (date) 08/31/2023

af I served the subpoena by delivering a copy to the named person as follows: | Lynanne Gares- Authorized to

Accept c/o Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808

at 3:40 p.m. on (date) 08/31/2023 ; Or

O I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ 0.00

I declare under penalty of perjury that this information is true.

Datee 08/31/2023

erver’s signature

John/Garber - Process Server

/ Printed name and title

230 N. Market Street
Wilmington, DE 19801

Server’s address

Additional information regarding attempted service, etc.:
